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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION


SIWELL, INC. D/B/A CAPITAL            §
MORTGAGE SERVICES OF TEXAS            §
                                      §
        Plaintiff,                    §
                                      §
v.                                    §       Civil Action No. 5:19-cv-00025-C
                                      §
WILLIAM BERTHELETTE AND               §
LAND GORILLA, INC.                    §
                                      §
                                      §
        Defendants.                   §


                      DEFENDANT’S RESPONSE TO PLAINTIFF’S
                      MOTION TO AMEND OR ALTER JUDGMENT




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TO THE HONORABLE UNITED STATES DISTRICT COURT:

         COMES NOW, Defendant, Land Gorilla, Inc. (“LG”), through undersigned counsel, who

respectfully files this Response to Plaintiff, Siwell, Inc. d/b/a Capital Mortgage Services of Texas’s
                                                                      1
(“CMS”) Motion to Amend or Alter Judgment (“Motion”) and respectfully represents as follows:

I.       SUMMARY OF THE ARGUMENT.

         Relief under Fed. R. Civ. Pro. 59(e) “is an extraordinary remedy that should be used
             2
sparingly.” “While district courts have ‘considerable discretion in deciding whether to grant or
                                                                 3
deny a motion to alter a judgment,’ denial is favored.”

         Solely based on the naked allegation that CMS’s arbitration counsel committed legal

malpractice, CMS seeks to undo a Judgment entered in LG's favor, following an Arbitration that

fully adjudicated the competing claims of LG and CMS. But CMS confuses newly discovered

evidence under Rule 59(e) with a newly uncovered cause of action against its California counsel.

Indeed, that professional liability claim is a collateral proceeding, with separate facts, parties,

causes of action, and (to be sure) a strident defense by that law firm pointing to CMS’s inferior

position in that arbitration proceeding which resulted in an adverse judgment. 4

         Further, CMS’s argument in this Rule 59(e) Motion is undermined by its failure to have

timely moved to vacate the (well-reasoned) Arbitration Award,5 citing professional malpractice or

any other basis.


1
  Doc. 45.
2
  Id.
3
  Hale v. Townley, 45 F.3d 914, 921 (5th Cir. 1995).
4
  The Arbitrator showed every consideration for CMS’s position by considering its defenses, even though CMS failed
to file an Answer. Doc. 34-2, Arbitration Award, p. 6 (“Although CMS did not raise affirmative defenses, by not filing
a Rule 9(a) answer, in the interests of completeness, the Arbitrator will consider [CMS’s] defenses.”)
5
  See n. 10, infra.




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         Rather, CMS pivots and makes the tortured argument that the March 26, 2021 Default
                                                               6
Judgment against Co-Defendant William Berthelette, entered prior to the September 2, 2021

Arbitration Award, somehow renders that Arbitration Award a nullity. But even that argument is

legally infirm: a) the First Amended Motion for Default Judgment never put on a prima facia case
                                              7
even as to Mr. Berthelette, let alone LG; b) a default judgment against one party is not binding on

another party; and c) CMS is plain wrong - its California counsel argued in the Arbitration that

fraud voided the MSA, as position which was considered and rejected by the Arbitrator.

         For these reasons and those which follow, CMS’s Motion must be denied.

II.      ARGUMENT.

         A.       Fed. R. Civ. Pro. 59(e) – Generally Applicable Law.

         “A motion to alter or amend the judgment under Rule 59(e) ‘calls into question the
                                  8
correctness of a judgment.’” “A Rule 59(e) motion is not the proper vehicle for rehashing

evidence, legal theories, or arguments that could have been offered or raised before the entry of
              9
judgment.” “Such as motion ‘cannot be used to raise arguments which could, and should, have
                                              10
been made before the judgment issued.’” “Instead, a motion for new trial under Rule 59(e) ‘serves

the narrow purpose of allowing a party to correct manifest errors of law or fact or to present newly
                          11
discovered evidence.’” “Manifest error is one that ‘is plain and indisputable, and that amounts to
                                                    12
a complete disregard of the controlling law.’” CMS must show manifest error of law or fact with

6
  Doc. 31, Default Judgment in the amount of $59,226.64.
7
  See Doc. 27, First Amended Motion for Default Judgment, and Doc. 24, Order and n. 1.
8
  Brandstetter v. Astrue, 6:11-cv-00016-C-BL, Doc. 38, *2 (N.D. Tex. May 29, 2012), adopted August 20, 2012 (Doc.
40) (Judge Cummings presiding), citing Templat v. Hydrochem Inc., 367 F.3d 473, 478-479 (5th Cir. 2004).
9
  Id.
10
   Id.
11
   Id.
12
   Guy v. Crown Equip. Corp., 394 F.3d 320, 325 (5th Cir. 2004) (quoting Venegas-Hernandez v. Sonolux Records,
370 F.3d 183, 195 (1st Cir. 2004)).




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respect to the Final Judgment, or stated another way, CMS must show a fundamental flaw in the

Court’s Final Judgment. CMS fails to allege, let alone show, that the Court rendered manifest error

in the Final Judgment.
                                                                                                                         13
         Relief under Rule 59(e) “is an extraordinary remedy that should be used sparingly.”

“While district courts have ‘considerable discretion in deciding whether to grant or deny a motion
                                                    14
to alter a judgment,’ denial is favored.” CMS argues two of the Rule 59(e) grounds: newly

discovered evidence and manifest error. The Court should reject both grounds.

         B.       CMS’s Rule 59(e) Motion masquerades as a Motion to Vacate and is filed out of
                  time.

         CMS’s Motion asks the Court to vacate the Arbitration Award and issue judgment in
                 15
CMS’s favor. It is not a Rule 59(e) Motion; rather, it is an untimely Motion to Vacate the

Arbitration Award.

         The FAA provides that CMS must serve on LG any notice to vacate the Arbitration Award
                                                                                        16                        17
within three months after the Arbitration Award was filed or delivered: December 2, 2021. CMS
                                                                                                                         18
first served LG with notice to vacate the Arbitration Award in its Motion filed February 25, 2022,

well after December 2, 2021.

         To the extent the CAA applies, CMS must serve and file any petition to vacate the

Arbitration Award no later than 100 days after the date of the service of a signed copy of the


13
   Id.
14
   Hale, F.3d, at 921.
15
   Doc. 46, p. 17 (“Plaintiff respectfully requests and prays that the Court: . . . issue an order and declaratory judgment
under Rule 57 and 28 U.S.C. Section 2201(a) in favor of Plaintiff as to the remaining claims between it and LG, as
they all ultimately stem from the void MSA between LG and CMS . . .”).
16
   FAA, 9 USC §10.
17
   Doc. 34-2, pp. 9, 10 (showing Arbitration Award issued and delivered on September 2, 2021).
18
   Doc. 45.




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        19                       20                                                    21
award: December 11, 2021. CMS filed its Motion on February 25, 2022, well after December

11, 2021.

         CMS did not timely seek to vacate the Arbitration Award and CMS’s disguised motion

under Rule 59(e), seeking the identical relief, must be denied.

         C.      CMS confuses newly discovery evidence with a newly uncovered cause of action,
                 the latter being a collateral proceeding divorced from the finality of the Arbitration
                 Award.

         CMS primarily bases its Motion on allegations that its California counsel in the arbitration
                                                                  22
committed legal malpractice as to the Arbitration Award.

         Legal malpractice may be defined as “a breach by an attorney of either the standard of care
                                      23
or of the standard of conduct.” The elements of a legal malpractice cause of action are duty,
                                             24
breach, proximate cause, and damages. Proximate cause requires proof that (1) the negligent act

or omission was a substantial factor in bringing about the harm at issue, and (2) absent the negligent
                                                           25
act or omission, the harm would not have occurred.

         CMS’s legal malpractice case against its former counsel, to the extent it pursues one, is a

different cause of action than the underlying case that was the subject of the Arbitration. There are

different objects of relief, different witnesses, and different evidence, none of which constitutes

"new evidence" under Rule 59(e). CMS’s allegation of legal malpractice is a collateral proceeding,

19
   CAA, California Code of Civil Procedure § 1288.
20
   Doc. 34-2, pp. 9, 10 (showing written and signed Arbitration Award delivered to CMS on September 2, 2021).
21
   Doc. 45.
22
   Doc. 46, p. 14.
23
   Mallen and Levit, Legal Malpractice § 1 (2d ed. 1981).
24
   Kuzmin v. Schiller, No. 05-13-01394-CV, 2015 WL 150206, at *3 (Tex. App.—Dallas Jan. 8, 2015, no pet.)
(mem. op.).
25
   Id.




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                                                                      26
neither grounds to alter or amend the Final Judgment nor grounds to vacate the Arbitration
         27
Award.

         D.       CMS was aware of facts giving rise to a professional liability claim before the Final
                  Judgment; CMS cannot use Rule 59(e) to argue it now.

         On a Rule 59(e) motion, “courts will not address new arguments or new evidence that the
                                                                           28
moving party could have raised before the decision issued.” Under Rule 59(e), CMS must allege
                                                                                                 29
newly discovered facts that could not have discovered by proper diligence. Newly discovered

facts, for purposes of Rule 59(e) do not include facts known to a party but not disclosed to the
                   30
party’s counsel.

26
   “Under Rule 59(e), amending a judgment is appropriate (1) where there has been an intervening change in
controlling law; (2) where the movant presents newly discovered evidence that was previously unavailable; or (3) to
correct a manifest error of law or fact.” Demahy v. Schwartz Pharma, Inc., 702 F.3d 177, 182 (5th Cir. 2012), citing
Schiller v. Physicians Res. Grp., Inc., 342 F.3d 563, 567 (5th Cir. 2003).
27
   See Federal Arbitration Act (“FAA”), 9 USC §10 (grounds to vacate arbitration award limited to where: (1) the
award was procured by corruption, fraud, or undue means; (2) there was evident partiality or corruption in the
arbitration, or either of them; (3) the arbitrators were guilty of misconduct in refusing to postpone the hearing, upon
sufficient cause shown or in refusing to hear evidence pertinent and material to the controversy; or of any other
misbehavior by which the rights of any party have been prejudiced; or (4) the arbitrators exceeded their powers, or so
imperfectly executed them that a mutual, final, and definite award upon the subject matter submitted as not made.

To the extent the California Arbitration Act (“CAA”) applies, see California Code of Civil Procedure §1286.2
(grounds to vacate arbitration award limited to where: (1) the award was procured by fraud or corruption; (2) there
was corruption in the arbitrator; (3) the arbitrator committed misconduct resulting in substantial prejudice; (4) the
arbitrators exceeded their powers; (5) the arbitrator refused to postpone a hearing, hear evidence, or otherwise violated
the CAA. resulting in substantial prejudice; or (6) the arbitrator refused to disclose grounds for disqualification.
28
   Banister v. Davis, 140 S.Ct. 1698, 1703 (2020) (“[C]ourts will not address new arguments or new evidence that the
moving party could have raised before the decision issued” on a Rule 59(e) motion); Mason v. Fremont Inv. & Loan,
No. 3:15-cv-1909-K-BN, 2016 WL 750941, *4-5 (N.D. Tex. Feb. 2, 2016), report and recommendation adopted, No.
3:15-cv-1909-K, 2016 WL 740385, *1 (N.D. Tex. Feb. 24, 2016) (court denies Rule 59(e) motion because, among
other reasons, movant could have raised his quiet title argument prior to judgment).
29
   English v. Mattson, 214 F.2d 406, 409 (5th Cir. 1954); see also Diaz v. Methodist Hosp., 46 F.3d 492 (5th Cir. 1995).
30
   Farm Credit Bank of Tex. v. Guidry, 110 F.3d 1147, 1154 (5th Cir. 1997) (“We today join those of our fellow circuits
that have recognized the rule that facts known to a party before trial, even though they were not disclosed to his
attorney until after trial, need not be regarded as “newly discovered” facts for purposes of Rule 59”), overruled on
other grounds by Canfield v. Orso (in re Orso), 283 F.3d 686 (5th Cir. 2002); see also Roach v. Stastny, 104 F.2d 559,
562 (7th Cir. 1939)(“[T]he court was not bound to order a new trial on the ground of newly discovered evidence in
order to enable appellant to set forth facts within his own knowledge at the time of the trial, even though their existence
may not have been known to his attorney then, and their significance was not known to himself.”).




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         CMS argues that it did not know it had a legal malpractice argument to raise until it retained
                                                                                          31
new counsel to review the file, which was after entry of the Final Judgment. But Mr. Lewis’

Affidavit belies that assertion when he testifies, “[w]hile Mr. Nunley [CMS California counsel]

did attend, via video conference, the Arbitration hearing itself, I did not feel I nor he was
                                                                                                         32
adequately prepared for the Arbitration, and ultimately, CMS did not prevail in the arbitration.”

         Mr. Lewis’ observation of his counsel occurred during the arbitration hearing on February
                                   33
2, 2021 and February 9, 2021. If Mr. Lewis believed that CMS was not adequately represented

at the arbitration hearing, CMS could have asserted a professional liability claim before the
                                                                         34
Arbitrator issued the Arbitration Award on September 2, 2021, or in a timely Motion to Vacate.

CMS did not do so and, therefore, waived its argument that professional liability of its arbitration

counsel is a basis to vacate that award. Likewise, that contention cannot be “newly discovered

facts” for purposes of a Rule 59(e) Motion.

         E.      CMS’s argument that the default judgment against Mr. Berthelette applies to LG
                 is untenable and contrary to prevailing jurisprudence.

         CMS argues that CMS’s default judgment against Mr. Berthelette equally adjudicated the
                                                                                               35
fraud claim against LG such that the Arbitration Award in LG’s favor is a nullity. This tortured

argument is both preposterous and legally infirm.

                       a. The First Amended Motion for Default Judgment never put on a prima
                          facia case even as to Mr. Berthelette, let alone LG.

         CMS’s (Original) Motion for Default Judgment was denied by this Court, finding same

was deficient.36 A First Amended Motion for Default was subsequently filed, citing service upon


31
   Doc. 46, p. 14.
32
   Doc. 46, p. 23.
33
   Doc. 34-2, p. 2.
34
   Doc. 34-2, p. 9.
35
   Doc. 46, p. 12, 15.
36
   See Doc. 27, First Amended Motion for Default Judgment, and Doc. 24, Order and n. 1.



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Mr. Berthelette and, on that basis, the Court granted the Motion.37 At no point did CMS put on a

prima facia case against Mr. Berthelette, let alone LG. See Doc. 27, passim.

                        b. The Default Judgment against Mr. Berthelette is of no moment as to LG.

         CMS argues that by entering the default judgment against Mr. Berthelette, this Court
                                                                             38
“adjudicated” against LG that the MSA was void due to fraud. CMS cites no authority because

that is not the law. CMS’s default judgment against Mr. Berthelette does not operate as issue

preclusion in the Arbitration between CMS and LG.

         Under federal law, issue preclusion (or collateral estoppel) is appropriate only if four

conditions are met: (1) the issue under consideration in a subsequent action must be identical to

the issue litigated in a prior action; (2) the issue must have been fully and vigorously litigated in

the prior action; (3) the issue must have been necessary to support the judgment in the prior case;

and (4) there must be no special circumstance that would render preclusion inappropriate or
        39
unfair. “Generally federal law holds that the doctrine of collateral estoppel is not applicable to

those prior judgments entered by default because, as just set forth above, the issues to be precluded
                                                                40
were not ‘actually litigated’ in the prior proceeding.”

         The Fifth Circuit has held that the “fully and fairly litigated” requirement is satisfied only
                                                                                             41
when there is an evidentiary hearing prior to the entry of the default judgment. A default judgment

37
   Doc. 27, 30, 31.
38
   Doc. 45, p. 3; Doc. 46, pp. 7, 11, 12, 16.
39
   U.S. v. Shanbaum, 10 F.3d 305, 311 (5th Cir. 1994) citing Universal American Barge Corp. v. J-Chem, Inc., 946
F.2d 1131, 1136 (5th Cir.1991) (citing Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326-32, 99 S.Ct. 645, 649, 58
L.Ed.2d 552 (1979)).
40
   In re Maresh, 277 B.R. 339, 346 (Bankr. N.D. Ohio 2001), citing Frank v. Daley (In re Daley), 776 F.2d 834, 838
(9th Cir.1985) (citation omitted), cert. denied, 476 U.S. 1159, 106 S.Ct. 2279, 90 L.Ed.2d 721 (1986). See also N. Atl.
Distrib., Inc. v. Teamsters Local Union No. 430, 497 F. Supp. 2d 315, 320 (D.R.I. 2007) (holding federal law does
not allow default judgment to have preclusive effect for collateral estoppel); Bush v. Balfour Beatty Bahamas, Ltd.,
62 F.3d 1319, 1322, 1323 (11th Cir.1995) (noting default judgment generally does not support application of collateral
estoppel under federal law).
41
   Pancake v. Reliance Inc. Co. (In re Pancake), 105 F.3d 1242, 1244 (5th Cir. 1997) (interpreting Texas law).




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does not support issue preclusion because “the essential foundations of issue preclusion are lacking

for want of actual litigation or actual decision of anything” and because “a defendant may suffer a
                                                                                             42
default for many valid reasons other than the merits of the plaintiff’s claim.”

         This Court entered the default judgment against Mr. Berthelette without conducting an

evidentiary hearing; hence, the alleged fraud issues were never “fully and fairly litigated” and issue

preclusion does not apply. Moreover, issue preclusion would not apply to LG who was not even a

party to the default judgment - a default judgment simply does not support issue preclusion against
                            43
a non-defaulting party.

         As a matter of law, CMS’s default judgment against Mr. Berthelette does not support issue
                                                                                                            44
preclusion against LG and does not render the Arbitration Award in LG’s favor a nullity.

                        c. CMS’s California counsel argued in the Arbitration that fraud voided the
                           MSA, as position which was considered and rejected by the Arbitrator.

         CMS’s Motion is replete with erroneous assertions of facts requiring correction. CMS

argues that CMS’s claims do not appear to have been considered in the Arbitrator’s final award
               45
against CMS and that there was no mention in the Arbitration hearing that the MSA was invalid
                       46
and unenforceable. These assertions are wrong.

42
   C.A. Wright & A.R. Miller, Federal Practice and Procedure § 1442 (3rd. 1999) (updated Apr. 2021).
43
   Porter Haden Co. v. Bullinger, 350 Md. 452, 480-81, 713 A.2d 962 (Md. 1997) abrogated on other grounds by John
Crane, Inc. v. Scribner, 800 A.2d 727 (Md. 2002) (stating “general rule” that a default judgment will not support issue
preclusion against a non-defaulting party, citing 18 C.A. Wright, A.R. Miller & E.H. Cooper, Federal Practice &
Procedure § 4442, at 337 (1981)); see also Cabello v. Northwestern Nat’l Ins. Grp., No. 08-99-00281-CV, 2000 WL
1514095, at *3-4 (Tex.App. – El Paso Oct. 12, 2000, no pet.) (not designated for publication) (default judgment could
not support issue preclusion against non-defaulting party).
44
   Cabello, 2000 WL 1514095, at *3-4.
45
   Doc. 46, p. 9.
46
   Id. at 12.




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                                                                                                                        47
         It is within the Arbitrator’s purview to decide whether the MSA was void due to fraud
                                                                48
and CMS’s California counsel made that argument:

         The evidence to be presented will establish that the MSA failed, ab initio or was reasonably
         and appropriately rescinded by [CMS] and that [CMS] is not liable to [LG] in damages or
         at all. Further it will establish that [LG] defrauded [CMS] with respect to the agreement
                                                    49
         and [LG] is liable to [CMS] in damages.

         In her well-reasoned Award, the Arbitrator considered and rejected each of CMS’s

affirmative defenses, including that Mr. Berthelette made misrepresentations and that CMS relied
              50
upon them.

         CMS also argued in its Motion that “LG never disclosed (to the best of our knowledge) to
                                                                                                         51
JAMS that CMS already had pending claims against LG in the [Texas] State Court.” That is also

incorrect. The Arbitration Award recites, “CMS named LG as a defendant in a lawsuit in Texas,

regarding the [MSA] Agreement. LG promptly bought a motion to compel arbitration which CMS
                    52
did not oppose.”

III.     CONCLUSION

         CMS’s contention that its arbitration counsel committed malpractice by, among other

things, failing to bring up the Default Judgment, is a collateral proceeding available to CMS. It is

not “newly discovered evidence” upon which CMS can use Rule 59(e) to vacate the Arbitration

Award which effort itself would be untimely.

47
   Buckeye Check Cashing, Inc v. Cardegna, 546 U.S. 440, 449 126 S.Ct. 1204, 1210 (2005) (“We reaffirm today that,
regardless of whether the challenge is brought in federal or state court, a challenge to the validity of the contract as a
whole, and not specifically to the arbitration clause, must go to the arbitrator.”)
48
   CMS Arbitration Brief dated January 15, 2021, Exhibit “A,” pp. 3-6. See also CMS Post Arbitration Brief, Exhibit
“B,” passim.
49
   Id. at 6.
50
   Doc. 34-2, pp. 6-8.
51
   Doc. 46, p. 9.
52
   Doc. 34-2, p. 6.




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         And the Default Judgment itself is of no moment where Fifth Circuit precedent holds it

cannot be used as a basis for issue preclusion against a non-defaulting party.

         Finally, CMS’s erroneous citations to the underlying record undermine its Rule 59(e)

arguments, such that its Motion, in its entirety, must be denied.

         WHEREFORE, Defendant Land Gorilla, Inc. prays this Honorable Court deny CMS’s

Motion to Alter or Amend the Judgment and grant all further relief to which LG may be justly

entitled, including attorneys fees incurred in responding to this Motion.53

                                            Respectfully submitted,


                                            By:      /s/ Jonathan M. Herman
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                                                     Counsel for Defendant Land Gorilla, Inc.

                                        CERTIFICATE OF SERVICE

         On March 17, 2022, I electronically submitted the foregoing document and its supporting
papers with the Clerk of the Court using the electronic case filing system of the Court. I hereby
certify that I have served all counsel or pro se parties of record electronically or by another method
of service authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                    /s/ Jonathan M. Herman
                                                     Jonathan M. Herman
53
   Within 14 days of the Court’s Order denying CMS’s Motion, LG reserves all rights to request leave to supplement
its attorneys’ fee request (Doc. 34, pp. 4-5) to include the additional fees incurred responding to CMS’s Rule 59(e)
Motion, all as part of its post-judgment collection efforts.




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